                        UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF KANSAS AT KANSAS CITY


In re:                                               )
                                                     )
CAH ACQUISITION COMPANY #5, LLC,                     )               Case Number 19-10359
d/b/a HILLSBORO COMMUNITY HOSPITAL,                  )               Chapter 11
                                                     )
                       Debtor.                       )



         MOTION TO APPROVE AGREED ORDER REGARDING USE OF CASH
                 COLLATERAL AND ADEQUATE PROTECTION

         COMES NOW Brent King, not individually, but solely in his capacity as the Chapter 11

Trustee in the above-captioned bankruptcy case (the "Trustee"), and for his Motion to Approve

Agreed Order Regarding Use of Cash Collateral and Adequate Protection, states as follows:

         1. On March 13, 2019 (the "Commencement Date"), Cohesive Healthcare Management

+ Consulting, LLC ("Cohesive"), as court-appointed receiver for CAH Acquisition Company #5,

LLC (the "Debtor"), filed a voluntary petition under chapter 11 of Title 11 of the United States

Code (the "Bankruptcy Code"), thereby commencing the above-captioned bankruptcy case (the

"Bankruptcy Case").

         2. On March 26, 2019, the Trustee was appointed the chapter 11 trustee in the

Bankruptcy Case.

         3. As of the Commencement Date, Bank of Hays (the "Bank") asserts that the Debtor

was indebted to the Bank in the following amounts: $9,663,421.19 in the principal, $302,801.91

in accrued interest, $125.00 in late fees, totaling $9,966.348.10, plus protective advances made

from and after January 7, 2019, plus interest from and after the Commencement Date at the per

diem rate of $1,879.00, plus all costs, expenses and attorneys' fees (the "Indebtedness").




                 Case 19-10359       Doc# 83     Filed 05/09/19     Page 1 of 17
       4. As security for payment of the Indebtedness, the Bank asserts that the Debtor granted

the Bank valid and perfected, first priority security interest in and lien on all right, title and

interest of the Debtor in all real property and personal property assets (the "Collateral") and the

rents, revenues, profits and proceeds therefrom (the "Cash Collateral").

       5. The Trustee and the Bank agree that the Cash Collateral the Debtor receives in its

operations from all sources, including the use and sale of the Collateral constitutes cash in which

the Bank has an interest pursuant to § 363 of the Bankruptcy Code, and therefore, the Trustee

must obtain the Bank's consent or a court order to use the Cash Collateral.

       6. The Trustee also believes the Debtor has an obligation to provide adequate protection

to the Bank for the use of the Collateral and the Cash Collateral pursuant to §§ 361 and 363 of

the Bankruptcy Code.

       Based on the foregoing, and subject to the Court’s approval, the Trustee and the Bank

agree as follows:

       7. Deposit of Post Petition Funds and Bank Account Structure. All cash in the

Trustee's possession, under its control, or received by it hereafter, including the Cash Collateral,

shall be deposited immediately in the Trustee's bank accounts maintained at the Bank, at US

Bank, or the savings account at Hillsboro State Bank (the "Cash Collateral Accounts"). The

Trustee shall maintain no other bank accounts except the Cash Collateral Accounts without the

written consent of the Bank or an order of the Court obtained upon notice to the Bank and an

opportunity for a hearing.   The Bank shall maintain a valid and perfected first priority lien on

and security interest in the Cash Collateral Accounts and the funds deposited therein.

       8. Expenditure of Cash. The Trustee may spend Cash Collateral only for the purposes

and in the amounts set forth in the budget attached hereto as Exhibit A ("the Budget"). The




                                                 2
                Case 19-10359        Doc# 83     Filed 05/09/19      Page 2 of 17
Budget shall reflect anticipated receipts and expenses for each month in which the Budget is in

effect. The Trustee shall not, during any particular month, exceed the budgeted amount for any

particular line item of operating expenses by more than ten percent (10%), or the aggregate

budgeted amount of operating expenses for any particular month by more than ten percent

(10%), without prior written approval of the Bank, or as otherwise authorized pursuant to a

separate order of the Court; provided, however, that budgeted expenses that are not paid during

the month budgeted may be paid in the next subsequent month. The Trustee agrees that the Bank

hereby shall retain a security interest in and lien on all Cash Collateral. All cash not spent on the

line items set forth in the Budget shall remain in the Cash Collateral Accounts subject to the

terms of this Motion and the order entered in regard to this Motion.

       9. Adequate Protection - Replacement Liens For the Bank. As adequate protection

for the post-petition use of Cash Collateral and the Collateral as set forth herein, the Trustee

agrees that the Bank shall hold a valid and duly perfected first priority security interest in and

lien on and against all property of the Debtor and of the estate wherever located and any

proceeds therefrom, whether presently owned or hereafter acquired. Such adequate protection

shall secure the diminution in the value, if any, of the Collateral in which the Bank has a valid

and perfected lien and security interest as of the Commencement Date, that may occur during the

Bankruptcy Case, and the use of Cash Collateral.

       10. Adequate Protection - Payments to the Bank. As additional adequate protection

of the Bank's interest, and the use of the Collateral and the Cash Collateral, and the resulting

diminishment in value of such Collateral, the following payments shall be made to the Bank:

               a. The payments set forth in the Budget; plus

               b. The Trustee agrees that the amounts paid to the Bank under this order entered




                                                 3
                 Case 19-10359       Doc# 83     Filed 05/09/19        Page 3 of 17
in regard to this Motion may be applied by the Bank to its claim in its sole discretion.

       11. Adequate Protection – Management/Maintenance/Insurance/Security/ Leasing.

               a. The Trustee shall in all respects maintain, and cause the maintenance of, the

Collateral. The Trustee shall permit the Bank (and its agents) to have access at reasonable times

to inspect the Collateral, its condition, and to monitor compliance with the maintenance

requirements of the order entered in regard to this Motion.

               b. The Trustee shall carry insurance in form and amounts as required by the Loan

Documents, noting the Bank as mortgagee and loss payee and shall provide the Bank immediate

evidence of such insurance.

               c. The operations of the Hillsboro Community Hospital (the "Hospital") will be

managed by Cohesive Healthcare Management + Consulting, LLC ("Cohesive"), who shall be

entitled to the management fee set forth in the Budget subject to final approval of the Bank.

Cohesive shall not increase this fee without further order of the Court upon notice to the Bank

and an opportunity for a hearing.

               d. The Trustee shall not enter into any new contracts having a length of more

than 90 days without either the written consent of the Bank or order of the Court upon notice to

the Bank and an opportunity for a hearing.

               e. The Trustee shall cause the Hospital to comply with all government rules and

regulations, including but not limited to the rules and regulations set forth the Center for

Medicare and Medicaid Services and the Kansas Department of Health and Environment.

               f. Any costs for the expenditures set forth in this paragraph (including leasing

commissions) that are not reflected in the Budget shall not be paid without the written approval

of the Bank, or a Court order, on motion, notice, and an opportunity for a hearing.




                                                 4
                 Case 19-10359       Doc# 83     Filed 05/09/19      Page 4 of 17
       12. Adequate Protection – Taxes. The Trustee shall timely pay all taxes when due.

       13. Adequate Protection – Reservation of Rights. Entry of an order granting this

Motion (and the Bank's agreement to the Budget) shall in no way serve to waive the Bank's right

to seek, or the Trustee's obligation to provide, additional adequate protection under the

provisions of §§ 361 and 363 of the Bankruptcy Code (including for the diminution in value of

the Collateral in excess of the adequate protection provided herein). Nothing contained herein

shall be construed as the Bank's agreement or concession that the adequate protection provided

herein is sufficient to protect the Bank as required by the applicable provisions of the Bankruptcy

Code. The Bank's rights are expressly reserved.

       14. Reports. On the fifteenth day of each month, the Trustee shall provide to the Bank a

report showing, for the prior month, the following: (a) a summary of all checks written and other

funds expended including from the Cash Collateral Accounts; (b) a list of checks that were

written but had not cleared; (c) all receipts; (d) all operational activities; (e) compliance with all

maintenance, management, and regulatory requirements of this Order; and (f) a reconciliation of

budgeted to actual expenses for the previous calendar month (collectively the "Reports"). The

Reports shall be in a form reasonably satisfactory to the Bank and to the extent that the

information contained in the Reports are also contained in the Trustee's monthly operating

reports, the Trustee may deliver the monthly operating reports to the Bank in lieu of the above

Reports. In addition, the Trustee and his agents shall promptly advise the Bank of all efforts to

sell any portion of the Bank's Collateral, including the terms of discussion, drafts of purchase

agreements, and status of negotiations.

       15. Access to Records and Examination. At reasonable intervals and upon reasonable

request by the Bank, the Trustee hereby grants the Bank and its representatives reasonable access




                                                  5
                 Case 19-10359        Doc# 83     Filed 05/09/19      Page 5 of 17
to any and all non-privileged information in the Trustee's possession or control regarding the

operation of the Hospital including, without limitation, the books, records, operations and assets.

In addition, upon reasonable request by the Bank, the Trustee shall make one or more

representatives available for examinations regarding the Budget, and any aspect of this

Bankruptcy Case under Fed. R. Bankr. P. 2004 without further order of the Court.

       16. Court Approval. The Trustee shall immediately obtain approval of an order in

regard to this Motion on a 15-day interim basis pursuant to the requirements of Fed. R. Bankr. P.

4001 in a form satisfactory to the Trustee and the Bank. Thereafter, the Trustee shall notify

parties in interest in this case that the order will become, and shall be deemed to be, a final order

effective for the balance of the term of the order all pursuant to Fed. R. Bankr. P. 4001 unless an

objection to the entry of the order is timely filed.   A copy of the proposed order granting the

Motion is attached hereto, incorporated herein, and identified as Exhibit B.

       17. Term and Termination of the Order.

               a. Notwithstanding that Exhibit A hereto reflects a budget for 13 weeks, the order

on this Motion shall continue in effect until the earlier of August 1, 2019, and the breach of any

provision contained herein by the Debtor.

               b. Upon a breach of any provision contained in the order granting this Motion by

the Trustee, the order shall be deemed terminated, the Trustee's right to use Cash Collateral shall

immediately cease, and the Bank shall be permitted to obtain an emergency hearing and seek

relief from the automatic stay of § 362 of the Bankruptcy Code to enforce its rights and remedies

in the Collateral (the "Emergency Hearing").

               c. In addition, the order on this Motion will terminate upon further order of the

Court (including an order granting the Bank relief from the automatic stay).




                                                 6
                 Case 19-10359       Doc# 83     Filed 05/09/19      Page 6 of 17
       18. Modification of the Order. Any modification of the order granting this Motion

shall be made only upon prior written consent of the Bank and the Trustee or as otherwise

modified pursuant to a separate order of the Court.

       19. Reservation of Rights. Nothing contained herein shall be construed as a waiver of

any rights or remedies that any party hereto has under any documents, the Bankruptcy Code, or

applicable law, including the Bank's right at any time to seek relief from the automatic stay of §

362 of the Bankruptcy Code with respect to all or any of the Collateral and either of the parties'

right to seek modification of the order granting this Motion and the cash used in accordance with

any order entered in regard to this Motion.

       WHEREFORE, the Trustee requests the Court enter an order granting the requested relief

and granting such other and further relief as is just and equitable.



                                               Respectfully Submitted,

                                               STEVENS & BRAND, LLP



                                               By:    s/ Patricia E. Hamilton
                                               PATRICIA E. HAMILTON, #13263
                                               WESLEY F. SMITH, #18517
                                               917 S.W. Topeka Boulevard
                                               Topeka, Kansas 66612
                                               Telephone ~ (785) 408-8000
                                               Facsimile ~ (785) 408-8003
                                               E-Mail ~ WSmith@StevensBrand.com
                                               E Mail ~ PHamilton@StevensBrand.com
                                               Counsel for Chapter 11 Trustee Brent King




                                                  7
                 Case 19-10359        Doc# 83     Filed 05/09/19       Page 7 of 17
         Consolidated Cash Flow
                       7-May-19
Week Beginning                               4/29/2019      5/6/2019      5/13/2019     5/20/2019      5/27/2019      6/3/2019      6/10/2019      6/17/2019      6/24/2019      7/1/2019      7/8/2019      7/15/2019      7/22/2019             TOTAL

Cash - Beginning of Period                       271,520       208,061         57,172        68,203         28,166       144,632         24,736          9,703         10,765       126,231        23,490         16,885         13,347               271,520

Revenue
   Medicare Inpatient Acute                          -           4,965          4,965         4,965          9,162         9,162          9,162          9,162          9,162         9,162         9,162          9,162          9,162                97,351
   Medicare Swing-Bed                                -          24,969         24,969        24,969         33,292        33,292         33,292         33,292         33,292        33,292        33,292         33,292         33,292               374,535
   Medicare Outpatient                               -          61,224         61,224        61,224         61,224        61,224         61,224         61,224         61,224        61,224        61,224         61,224         61,224               734,694
   All Other Payers                               55,000        91,198         91,198        91,198         91,198        91,198         91,198         91,198         91,198        91,198        91,198         91,198         91,198             1,149,374
   Legacy (Old AR) **                                -         149,576        149,576       149,576         24,996        24,996         24,996         24,996         24,996        24,996        24,996         24,996         24,996               673,690
                                                     -             -              -             -              -             -              -              -              -             -                                                                 -
       Total Revenue                              55,000       331,932        331,932       331,932        219,872       219,872        219,872        219,872        219,872       219,872       219,872        219,872        219,872             3,029,644

Deductions from Revenue
   Medicare Contractual Adjustment                   -           5,851          5,851         5,851        (10,070)      (10,070)       (10,070)       (10,070)       (10,070)      (10,070)      (10,070)       (10,070)       (10,070)              (73,073)
   Medicaid Contractual Adjustment                 9,669        38,352         38,352        38,352         18,477        18,477         18,477         18,477         18,477        18,477        18,477         18,477         18,477               291,019
   Commercial Contractual Adjustment              23,100        96,169         96,169        96,169         52,543        52,543         52,543         52,543         52,543        52,543        52,543         52,543         52,543               784,490
   Provision for Bad Debt                          3,032        12,034         12,034        12,034          5,798         5,798          5,798          5,798          5,798         5,798         5,798          5,798          5,798                91,318
   Medicare ERP (Payment Plan)                       -          33,111            -             -              -          33,111            -              -              -          33,111           -              -              -                  99,333
                                                                                                                                                                                                                                                          -
       Total Deductions                           35,801       185,517        152,406       152,406         66,748        99,859         66,748         66,748         66,748        99,859        66,748         66,748         66,748             1,193,087

Total Gross Margin                                19,199       146,414        179,525       179,525        153,124       120,013        153,124        153,124        153,124       120,013       153,124        153,124        153,124             1,836,558

Operating Expenses (cash basis)
   Payroll Semi-Monthly Gross *                      -         140,000            -         150,000            -         150,000            -          150,000            -         150,000           -          150,000            -                 890,000
   Payroll Employee Benefits                         -          11,480            -          12,300            -          12,300            -           12,300            -          12,300           -           12,300            -                  72,980
   Insurance Health BCBS Employees                   -          20,000            -             -              -          20,000            -              -              -             -          20,000            -              -                  60,000
   Insurance General & Work Comp C.N.A.            2,584         1,895            -           3,787          2,584         1,895            -            3,787          2,584         1,895           -            3,787          2,584                27,381
   Utilities Gas & electric                          -           8,363          4,750           -              -           8,363          4,750            -              -           8,363         4,750            -            8,363                47,703
   Telephone, Internet, Cable                        -             508            430        10,399            -             508            430         10,399            -             508           430            -              508                24,122
   Purchased Services                              1,122        17,966          1,122         6,524          1,122        17,966          1,122          6,524          1,122        17,966         1,122          6,524          6,524                86,724
   Physician Fees (Free State) *                     -             -              -             -              -             -           23,308            -              -             -          23,308            -              -                  46,615
   Supplies                                       19,325        17,395         14,325        17,411         19,325        17,395         14,325         16,830         19,906        17,395        14,325         16,830         16,830               221,617
   Office Supplies                                   375           375            375           375            375           375            375            375            375           375           375            375            375                 4,875
   Postage & Delivery                                250           250            250           250            250           250            250            250            250           250           250            250            250                 3,250
   Real Estate Taxes Currently                       -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   HERC Equipment Leases                             -           9,835            -             -              -           9,835            -              -              -           9,835           -              -              -                  29,505
   Ice Masters - Ice Machine                         -             -              380           -              -             -              380            -              -             -             380            -              -                   1,141
   Beckman Coulter Lease (Lab)                       -           2,271            -             -              -           2,271            -              -              -           2,271           -              -              -                   6,812
   Rent                                              -             -              -             920            -             -              -              -              920           -             -              -              920                 2,760
   Underground Vaults & Storage                      -             -            2,000           -              -             -              -              -              -             -             -              -              -                   2,000
   Subscriptions and Licenses                        -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Contract Labor                                  6,002         9,596          6,002         9,596          6,002        11,066          6,002          9,596          6,002         9,596         9,596          9,596          6,002               104,654
   Athena Software                                   -             -            6,162           -              -             -           17,189            -              -             -          15,122            -              -                  38,474
    C-Arm (Lease)                                    -             -            3,750           -              -             -            3,750            -              -             -           3,750            -              -                  11,250
   IV Pumps - Finance Agreement                                    -            2,667           -              -             -            2,667            -              -             -           2,667            -              -                   8,001
   Dishwasher                                        -             370            -             -              -             185            -              -              -             -             185            -              -                     740
   Telemedicine Cart                                 -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Copiers - Purchase                                -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Orchard                                           -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Computers (5)                                     -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Minor Equipment                                   -             -              -           5,000            -             -              -              -              -             -             -              -              -                   5,000
   Contingency                                     3,500         3,500          3,000         3,000          2,500         2,500          2,000          2,000          2,000         2,000         2,000          2,000          2,000                32,000
   McKesson                                        4,500           -              -                          4,500           -              -                           4,500           -             -              -            4,500                18,000
       Total Operating Expenses                   37,657       243,804         45,214       219,562         36,657       254,909         76,548        212,061         37,658       232,754        98,260        201,662         48,856             1,745,603

Net Operating Cash Flow                          (18,459)      (97,390)       134,312       (40,037)       116,467      (134,896)        76,576        (58,937)       115,466      (112,741)       54,864        (48,538)       104,268                90,954

Restructuring Income & Expenses
   Bank of Hays Loans (negative)                     -             -              -             -              -         (50,000)       (40,000)       (60,000)           -         (45,000)      (75,000)       (45,000)           -                (315,000)
   Ch11 Trustee Fees                                 -          40,000            -             -              -          30,000            -              -              -          30,000           -              -              -                 100,000
   Patient Care Ombusdman                            -          10,000            -             -              -           5,000            -              -              -           5,000           -              -              -                  20,000
   Cohseive Fixed Monthly Fee                     45,000           -           40,000           -              -             -           85,000            -              -             -          85,000                        40,000               295,000
   Cohesive Percent Of Revenue Fee                   -             -            8,281           -              -             -           31,609            -              -             -          28,969            -           22,969                91,828
   Stevens & Brand, LLP                              -             -           50,000           -              -             -           15,000            -              -             -          15,000                        10,000                90,000
   GlassRatner IB                                                  -           25,000           -              -             -              -              -              -             -             -              -              -                  25,000
   US Trustee Fees                                   -           3,500            -             -              -             -              -              -              -             -           7,500            -              -                  11,000
      Total Restructuring Income & Expense        45,000        53,500        123,281           -              -         (15,000)        91,609        (60,000)           -         (10,000)       61,469        (45,000)        72,969               317,828

Cash - end of period                             208,061        57,172         68,203        28,166        144,632        24,736          9,703         10,765        126,231        23,490        16,885         13,347         44,646                44,646

  * Includes Physician Wages
  ** Estimated collection of Aged AR = 30%




                                                              Case 19-10359                           Doc# 83             Filed 05/09/19
                                                                                                                        Page 1
                                                                                                                                                               Page 8 of 17                                                             Hillsboro Cash Flow Model 5-2-19 BK V1
                        UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF KANSAS AT KANSAS CITY

In re:                                             )
                                                   )
CAH ACQUISITION COMPANY #5, LLC,                   )              Case Number 19-10359
d/b/a HILLSBORO COMMUNITY HOSPITAL,                )              Chapter 11
                                                   )
                      Debtor.                      )




             AGREED ORDER REGARDING USE OF CASH COLLATERAL
                       AND ADEQUATE PROTECTION

         This Agreed Order (the "Order") is entered into by and between Brent King, not

individually, but solely in his capacity as the Chapter 11 Trustee in the above-captioned

bankruptcy case (the "Trustee") and Bank of Hays (the "Bank") with reference to the following:

         1. On March 13, 2019 (the "Commencement Date"), Cohesive Healthcare Management

+ Consulting, LLC ("Cohesive"), as court-appointed receiver for CAH Acquisition Company #5,

LLC (the "Debtor"), filed a voluntary petition under chapter 11 of Title 11 of the United States

Code (the "Bankruptcy Code"), thereby commencing the above-captioned bankruptcy case (the

"Bankruptcy Case").


                                               1
                Case 19-10359      Doc# 83     Filed 05/09/19     Page 9 of 17
       2. On March 26, 2019, the Trustee was appointed the Chapter 11 Trustee in the

Bankruptcy Case.

       3. As of the Commencement Date, the Bank asserts that the Debtor was indebted to the

Bank in the following amounts: $9,663,421.19 in the principal, $302,801.91 in accrued interest,

$125.00 in late fees, totaling $9,966.348.10, plus protective advances made from and after

January 7, 2019, plus interest from and after the Commencement Date at the per diem rate of

$1,879.00, plus all costs, expenses and attorneys' fees (the "Indebtedness").

       4. As security for payment of the Indebtedness, the Bank asserts that the Debtor granted

the Bank valid and perfected, first priority security interest in and lien on all right, title and

interest of the Debtor in all real property and personal property assets (the "Collateral") and the

rents, revenues, profits and proceeds therefrom (the "Cash Collateral").

       5. The Trustee and the Bank agree that the Cash Collateral the Debtor receives in its

operations from all sources, including the use and sale of the Collateral constitutes cash in which

the Bank has an interest pursuant to § 363 of the Bankruptcy Code, and therefore, the Trustee

must obtain the Bank's consent or a court order to use the Cash Collateral.

       6. The Trustee also believes the Debtor has an obligation to provide adequate protection

to the Bank for the use of the Collateral and the Cash Collateral pursuant to §§ 361 and 363 of

the Bankruptcy Code.

       Based on the foregoing, and intending to be legally bound, the parties hereto do hereby

agree, and the Court ORDERS as follows:

       7. Deposit of Post Petition Funds and Bank Account Structure. All cash in the

Trustee's possession, under its control, or received by it hereafter, including the Cash Collateral,

shall be deposited immediately in the Trustee's bank accounts maintained at the Bank, at US



                                                 2
.
                Case 19-10359       Doc# 83      Filed 05/09/19     Page 10 of 17
Bank, or the savings account at Hillsboro State Bank (the "Cash Collateral Accounts"). The

Trustee shall maintain no other bank accounts except the Cash Collateral Accounts without the

written consent of the Bank or an order of the Court obtained upon notice to the Bank and an

opportunity for a hearing.   The Bank shall maintain a valid and perfected first priority lien on

and security interest in the Cash Collateral Accounts and the funds deposited therein.

       8. Expenditure of Cash. The Trustee may spend Cash Collateral only for the purposes

and in the amounts set forth in the budget attached hereto as Exhibit A ("the Budget") and

pursuant to the terms of this Order. The Budget shall reflect anticipated receipts and expenses

for each month in which the Budget is in effect. The Trustee shall not, during any particular

month, exceed the budgeted amount for any particular line item of operating expenses by more

than ten percent (10%), or the aggregate budgeted amount of operating expenses for any

particular month by more than ten percent (10%), without prior written approval of the Bank, or

as otherwise authorized pursuant to a separate order of the Court; provided, however, that

budgeted expenses that are not paid during the month budgeted may be paid in the next

subsequent month. The Bank hereby shall retain a security interest in and lien on all Cash

Collateral. All cash not spent on the line items set forth in the Budget shall remain in the Cash

Collateral Accounts subject to the terms of this Order.

       9. Adequate Protection - Replacement Liens For the Bank. As adequate protection

for the post-petition use of Cash Collateral and the Collateral as set forth herein, the Court

hereby grants, ratifies and confirms the grant to the Bank of a valid and duly perfected first

priority security interest in and lien on and against all property of the Debtor and of the estate

wherever located and any proceeds therefrom, whether presently owned or hereafter acquired.

Such adequate protection shall secure the diminution in the value, if any, of the Collateral in



                                                3
.
                Case 19-10359       Doc# 83     Filed 05/09/19     Page 11 of 17
which the Bank has a valid and perfected lien and security interest as of the Commencement

Date, that may occur during the Bankruptcy Case, and the use of Cash Collateral.

        10. Adequate Protection - Payments to the Bank. As additional adequate protection

of the Bank's interest, and the use of the Collateral and the Cash Collateral, and the resulting

diminishment in value of such Collateral, the following payments shall be made to the Bank:

                a. The payments set forth in the Budget; plus

                b. Amounts paid to the Bank under this Order shall be applied by the Bank to its

claim in its sole discretion.

        11. Adequate Protection – Management/Maintenance/Insurance/Security/ Leasing.

                a. The Trustee shall in all respects maintain, and cause the maintenance of, the

Collateral. The Trustee shall permit the Bank (and its agents) to have access at reasonable times

to inspect the Collateral, its condition, and to monitor compliance with the maintenance

requirements of this Order.

                b. The Trustee shall carry insurance in form and amounts as required by the Loan

Documents, noting the Bank as mortgagee and loss payee and shall provide the Bank immediate

evidence of such insurance.

                c. The operations of the Hillsboro Community Hospital (the "Hospital") will be

managed by Cohesive Healthcare Management + Consulting, LLC ("Cohesive"), who shall be

entitled to the management fee set forth in the Budget subject to final approval of the Bank.

Cohesive shall not increase this fee without further order of the Court upon notice to the Bank

and an opportunity for a hearing.

                d. The Trustee shall not enter into any new contracts having a length of more

than 90 days without either the written consent of the Bank or order of the Court upon notice to



                                                4
.
                 Case 19-10359      Doc# 83     Filed 05/09/19    Page 12 of 17
the Bank and an opportunity for a hearing.

               e. The Trustee shall cause the Hospital to comply with all government rules and

regulations, including but not limited to the rules and regulations set forth the Center for

Medicare and Medicaid Services and the Kansas Department of Health and Environment.

               f. Any costs for the expenditures set forth in this paragraph (including leasing

commissions) that are not reflected in the Budget shall not be paid without the written approval

of the Bank, or a Court order, on motion, notice, and an opportunity for a hearing.

       12. Adequate Protection – Taxes. The Trustee shall timely pay all taxes when due.

       13. Adequate Protection – Reservation of Rights.               This Order (and the Bank's

agreement to the Budget) shall in no way serve to waive the Bank's right to seek, or the Trustee's

obligation to provide, additional adequate protection under the provisions of §§ 361 and 363 of

the Bankruptcy Code (including for the diminution in value of the Collateral in excess of the

adequate protection provided herein). Nothing contained herein shall be construed as the Bank's

agreement or concession that the adequate protection provided herein is sufficient to protect the

Bank as required by the applicable provisions of the Bankruptcy Code. The Bank's rights are

expressly reserved.

       14. Reports. On the fifteenth day of each month, the Trustee shall provide to the Bank a

report showing, for the prior month, the following: (a) a summary of all checks written and other

funds expended including from the Cash Collateral Accounts; (b) a list of checks that were

written but had not cleared; (c) all receipts; (d) all operational activities; (e) compliance with all

maintenance, management, and regulatory requirements of this Order; and (f) a reconciliation of

budgeted to actual expenses for the previous calendar month (collectively the "Reports"). The

Reports shall be in a form reasonably satisfactory to the Bank and to the extent that the



                                                  5
.
                Case 19-10359        Doc# 83      Filed 05/09/19     Page 13 of 17
information contained in the Reports are also contained in the Trustee's monthly operating

reports, the Trustee may deliver the monthly operating reports to the Bank in lieu of the above

Reports. In addition, the Trustee and his agents shall promptly advise the Bank of all efforts to

sell any portion of the Bank's Collateral, including the terms of discussion, drafts of purchase

agreements, and status of negotiations.

       15. Access to Records and Examination. At reasonable intervals and upon reasonable

request by the Bank, the Trustee hereby grants the Bank and its representatives reasonable access

to any and all non-privileged information in the Trustee's possession or control regarding the

operation of the Hospital including, without limitation, the books, records, operations and assets.

In addition, upon reasonable request by the Bank, the Trustee shall make one or more

representatives available for examinations regarding the Budget, and any aspect of this

Bankruptcy Case under Fed. R. Bankr. P. 2004 without further order of the Court.

       16. Court Approval. The Trustee shall immediately obtain approval of this Order on a

15-day interim basis pursuant to the requirements of Fed. R. Bankr. P. 4001 in a form

satisfactory to the Trustee and the Bank. Thereafter, the Trustee shall notify parties in interest in

this case that this Order will become, and shall be deemed to be, a final order effective for the

balance of the term of this Order all pursuant to Fed. R. Bankr. P. 4001 unless an objection to the

entry of the Order is timely filed.

       17. Term and Termination of this Order.

               a. Notwithstanding that Exhibit A hereto reflects a budget for 13 weeks, this

Order shall continue in effect until the earlier of August 1, 2019, and the breach of any provision

contained herein by the Debtor.

               b. Upon a breach of any provision contained in this Order by the Trustee, this



                                                 6
.
                Case 19-10359         Doc# 83    Filed 05/09/19     Page 14 of 17
Order shall be deemed terminated, the Trustee's right to use Cash Collateral shall immediately

cease, and the Bank shall be permitted to obtain an emergency hearing and seek relief from the

automatic stay of § 362 of the Bankruptcy Code to enforce its rights and remedies in the

Collateral (the "Emergency Hearing").

               c. In addition, this Order will terminate upon further order of the Court (including

an order granting the Bank relief from the automatic stay).

       18. Modification of this Order. Any modification of this Order shall be made only

upon prior written consent of the Bank and the Trustee or as otherwise modified pursuant to a

separate order of the Court.

       19. Reservation of Rights. Nothing contained herein shall be construed as a waiver of

any rights or remedies that any party hereto has under any documents, the Bankruptcy Code, or

applicable law, including the Bank's right at any time to seek relief from the automatic stay of §

362 of the Bankruptcy Code with respect to all or any of the Collateral and either of the parties'

right to seek modification of this Order and the cash used hereunder.

       IN WITNESS WHEREOF, the attorneys for the parties hereto have entered into this

Order on behalf of their clients as of the day and year first above written.

                                                ###

APPROVED BY:


   s/ Patricia E. Hamilton
Patricia E. Hamilton, KS Bar No. 13263
STEPHENS & BRAND, LLP
917 S.W. Topeka Boulevard
Topeka, Kansas 66612
Telephone: (785) 408-8000
Facsimile: (785) 408-8003
E-Mail: PHamilton@StevensBrand.com
Counsel for Chapter 11 Trustee Brent King


                                                  7
.
                Case 19-10359        Doc# 83     Filed 05/09/19      Page 15 of 17
IN THE U.S. BANKRUPTCY COURT, DISTRICT OF KANSAS
In Re: CAH Acquisition Company #5, LLC, Debtor ~ Case No. 19-10359-11 (REN)
Agreed Order Regarding Use of Cash Collateral and Adequate Protection
Page 8 of 8




APPROVED BY:


   s/ Nicholas Zluticky
Nicholas Zluticky
STINSON LEONARD STREET LLP
1201 Walnut, Suite 2900
Kansas City, MO 64106
Telephone: 816-691-3278
Facsimile: 816-412-9388
E-Mail: nick.zluticky@stinson.com
Counsel for Bank of Hays




                                                     8
                 Case 19-10359          Doc# 83      Filed 05/09/19       Page 16 of 17
         Consolidated Cash Flow
                       7-May-19
Week Beginning                               4/29/2019      5/6/2019      5/13/2019     5/20/2019      5/27/2019      6/3/2019      6/10/2019      6/17/2019      6/24/2019      7/1/2019      7/8/2019      7/15/2019      7/22/2019             TOTAL

Cash - Beginning of Period                       271,520       208,061         57,172        68,203         28,166       144,632         24,736          9,703         10,765       126,231        23,490         16,885         13,347               271,520

Revenue
   Medicare Inpatient Acute                          -           4,965          4,965         4,965          9,162         9,162          9,162          9,162          9,162         9,162         9,162          9,162          9,162                97,351
   Medicare Swing-Bed                                -          24,969         24,969        24,969         33,292        33,292         33,292         33,292         33,292        33,292        33,292         33,292         33,292               374,535
   Medicare Outpatient                               -          61,224         61,224        61,224         61,224        61,224         61,224         61,224         61,224        61,224        61,224         61,224         61,224               734,694
   All Other Payers                               55,000        91,198         91,198        91,198         91,198        91,198         91,198         91,198         91,198        91,198        91,198         91,198         91,198             1,149,374
   Legacy (Old AR) **                                -         149,576        149,576       149,576         24,996        24,996         24,996         24,996         24,996        24,996        24,996         24,996         24,996               673,690
                                                     -             -              -             -              -             -              -              -              -             -                                                                 -
       Total Revenue                              55,000       331,932        331,932       331,932        219,872       219,872        219,872        219,872        219,872       219,872       219,872        219,872        219,872             3,029,644

Deductions from Revenue
   Medicare Contractual Adjustment                   -           5,851          5,851         5,851        (10,070)      (10,070)       (10,070)       (10,070)       (10,070)      (10,070)      (10,070)       (10,070)       (10,070)              (73,073)
   Medicaid Contractual Adjustment                 9,669        38,352         38,352        38,352         18,477        18,477         18,477         18,477         18,477        18,477        18,477         18,477         18,477               291,019
   Commercial Contractual Adjustment              23,100        96,169         96,169        96,169         52,543        52,543         52,543         52,543         52,543        52,543        52,543         52,543         52,543               784,490
   Provision for Bad Debt                          3,032        12,034         12,034        12,034          5,798         5,798          5,798          5,798          5,798         5,798         5,798          5,798          5,798                91,318
   Medicare ERP (Payment Plan)                       -          33,111            -             -              -          33,111            -              -              -          33,111           -              -              -                  99,333
                                                                                                                                                                                                                                                          -
       Total Deductions                           35,801       185,517        152,406       152,406         66,748        99,859         66,748         66,748         66,748        99,859        66,748         66,748         66,748             1,193,087

Total Gross Margin                                19,199       146,414        179,525       179,525        153,124       120,013        153,124        153,124        153,124       120,013       153,124        153,124        153,124             1,836,558

Operating Expenses (cash basis)
   Payroll Semi-Monthly Gross *                      -         140,000            -         150,000            -         150,000            -          150,000            -         150,000           -          150,000            -                 890,000
   Payroll Employee Benefits                         -          11,480            -          12,300            -          12,300            -           12,300            -          12,300           -           12,300            -                  72,980
   Insurance Health BCBS Employees                   -          20,000            -             -              -          20,000            -              -              -             -          20,000            -              -                  60,000
   Insurance General & Work Comp C.N.A.            2,584         1,895            -           3,787          2,584         1,895            -            3,787          2,584         1,895           -            3,787          2,584                27,381
   Utilities Gas & electric                          -           8,363          4,750           -              -           8,363          4,750            -              -           8,363         4,750            -            8,363                47,703
   Telephone, Internet, Cable                        -             508            430        10,399            -             508            430         10,399            -             508           430            -              508                24,122
   Purchased Services                              1,122        17,966          1,122         6,524          1,122        17,966          1,122          6,524          1,122        17,966         1,122          6,524          6,524                86,724
   Physician Fees (Free State) *                     -             -              -             -              -             -           23,308            -              -             -          23,308            -              -                  46,615
   Supplies                                       19,325        17,395         14,325        17,411         19,325        17,395         14,325         16,830         19,906        17,395        14,325         16,830         16,830               221,617
   Office Supplies                                   375           375            375           375            375           375            375            375            375           375           375            375            375                 4,875
   Postage & Delivery                                250           250            250           250            250           250            250            250            250           250           250            250            250                 3,250
   Real Estate Taxes Currently                       -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   HERC Equipment Leases                             -           9,835            -             -              -           9,835            -              -              -           9,835           -              -              -                  29,505
   Ice Masters - Ice Machine                         -             -              380           -              -             -              380            -              -             -             380            -              -                   1,141
   Beckman Coulter Lease (Lab)                       -           2,271            -             -              -           2,271            -              -              -           2,271           -              -              -                   6,812
   Rent                                              -             -              -             920            -             -              -              -              920           -             -              -              920                 2,760
   Underground Vaults & Storage                      -             -            2,000           -              -             -              -              -              -             -             -              -              -                   2,000
   Subscriptions and Licenses                        -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Contract Labor                                  6,002         9,596          6,002         9,596          6,002        11,066          6,002          9,596          6,002         9,596         9,596          9,596          6,002               104,654
   Athena Software                                   -             -            6,162           -              -             -           17,189            -              -             -          15,122            -              -                  38,474
    C-Arm (Lease)                                    -             -            3,750           -              -             -            3,750            -              -             -           3,750            -              -                  11,250
   IV Pumps - Finance Agreement                                    -            2,667           -              -             -            2,667            -              -             -           2,667            -              -                   8,001
   Dishwasher                                        -             370            -             -              -             185            -              -              -             -             185            -              -                     740
   Telemedicine Cart                                 -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Copiers - Purchase                                -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Orchard                                           -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Computers (5)                                     -             -              -             -              -             -              -              -              -             -             -              -              -                     -
   Minor Equipment                                   -             -              -           5,000            -             -              -              -              -             -             -              -              -                   5,000
   Contingency                                     3,500         3,500          3,000         3,000          2,500         2,500          2,000          2,000          2,000         2,000         2,000          2,000          2,000                32,000
   McKesson                                        4,500           -              -                          4,500           -              -                           4,500           -             -              -            4,500                18,000
       Total Operating Expenses                   37,657       243,804         45,214       219,562         36,657       254,909         76,548        212,061         37,658       232,754        98,260        201,662         48,856             1,745,603

Net Operating Cash Flow                          (18,459)      (97,390)       134,312       (40,037)       116,467      (134,896)        76,576        (58,937)       115,466      (112,741)       54,864        (48,538)       104,268                90,954

Restructuring Income & Expenses
   Bank of Hays Loans (negative)                     -             -              -             -              -         (50,000)       (40,000)       (60,000)           -         (45,000)      (75,000)       (45,000)           -                (315,000)
   Ch11 Trustee Fees                                 -          40,000            -             -              -          30,000            -              -              -          30,000           -              -              -                 100,000
   Patient Care Ombusdman                            -          10,000            -             -              -           5,000            -              -              -           5,000           -              -              -                  20,000
   Cohseive Fixed Monthly Fee                     45,000           -           40,000           -              -             -           85,000            -              -             -          85,000                        40,000               295,000
   Cohesive Percent Of Revenue Fee                   -             -            8,281           -              -             -           31,609            -              -             -          28,969            -           22,969                91,828
   Stevens & Brand, LLP                              -             -           50,000           -              -             -           15,000            -              -             -          15,000                        10,000                90,000
   GlassRatner IB                                                  -           25,000           -              -             -              -              -              -             -             -              -              -                  25,000
   US Trustee Fees                                   -           3,500            -             -              -             -              -              -              -             -           7,500            -              -                  11,000
      Total Restructuring Income & Expense        45,000        53,500        123,281           -              -         (15,000)        91,609        (60,000)           -         (10,000)       61,469        (45,000)        72,969               317,828

Cash - end of period                             208,061        57,172         68,203        28,166        144,632        24,736          9,703         10,765        126,231        23,490        16,885         13,347         44,646                44,646

  * Includes Physician Wages
  ** Estimated collection of Aged AR = 30%




                                                            Case 19-10359                           Doc# 83             Filed 05/09/19
                                                                                                                        Page 1
                                                                                                                                                               Page 17 of 17                                                            Hillsboro Cash Flow Model 5-2-19 BK V1
